 Case: 4:21-cv-00287-AGF Doc. #: 17 Filed: 05/03/21 Page: 1 of 2 PageID #: 428




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

THE STATE OF MISSOURI, et al.,

                   Plaintiffs,

                      v.

        JOSEPH R. BIDEN, JR., et al.,
                                               No. 4:21-cv-00287-AGF
                   Defendants.




  PLAINTIFF STATES MOTION FOR A PRELIMINARY INJUNCTION
       Plaintiffs, the States of Missouri, Alaska, Arizona, Arkansas, Indiana, Kansas, Montana,

Nebraska, Ohio, Oklahoma, South Carolina, Tennessee, and Utah, (Plaintiff States) respectfully

request that the Court issue a preliminary injunction prohibiting Defendants (excluding the

President) from using the social cost of greenhouse gases promulgated in the February 26, 2021

Technical Support Document, Doc. 6-2, in any rule making or federal action where there is a

statutory command to consider costs or costs are permitted by statute until this case is resolved

upon appeal.

       Due to the finality of any rules being promulgated now and the impending issuance of new

social costs of greenhouse gases in January 2022, Plaintiff States respectfully request a ruling on

its Motion for Preliminary Injunction by August 23, 2021.



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 Case: 4:21-cv-00287-AGF Doc. #: 17 Filed: 05/03/21 Page: 2 of 2 PageID #: 429




       Missouri incorporates by reference the arguments in its Memorandum in Support of this

Motion, filed contemporaneously herewith.

Dated: April 30, 2021                                          Respectfully submitted,

                                                               ERIC S. SCHMITT
                                                               Attorney General of Missouri

                                                               /s/     D. John Sauer
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on April 30, 2021, a true and correct copy of the foregoing and any

attachments were filed electronically through the Court’s CM/ECF system, to be served on counsel

for all parties by operation of the Court’s electronic filing system..

                                                               /s/ D. John Sauer




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